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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.: 16-62434-CIV-ZLOCH


  IRINA MUSKINA,

                 Plaintiff,

                                             v.


  NCS PLUS, INC.,

                 Defendant.
                                                        /

                              JOINT STIPULATION OF DISMISSAL

         IT IS HEREBY STIPULATED AND AGREED by and between the undersigned counsel

  for all parties in the above captioned action, that whereas no party hereto is an infant, incompetent

  person for whom a committee has been appointed or conservatee, and no person not a party has an

  interest in the subject matter of the action, that this action is dismissed with prejudice and without

  costs to either party pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

  Dated: July 19, 2017

   For Plaintiff Irina Muskina                          For Defendant NCS Plus, Inc.

   /s/ Michael Jay Ringelheim                           /s/ Ashley N. Rector
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                                  CERTIFICATE OF SERVICE

         I certify that on July 19, 2017, a copy of the foregoing was filed electronically in the ECF

  system. Notice of this filing will be sent to the parties of record by operation of the Court’s

  electronic filing system. Parties may access this filing through the Court’s system.

                                                /s/ Michael Jay Ringelheim
                                                Michael Jay Ringelheim

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